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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  NIPPON SHINYAKU CO., LTD.,               )
                                           )
             Plaintiff,                    ) C.A. No. 21-1015 (JLH)
                                           )
       v.                                  )
                                           )
 SAREPTA THERAPEUTICS, INC.,               )
                                           )
             Defendant.                    )
  SAREPTA THERAPEUTICS, INC. and THE )
                                           )
  UNIVERSITY OF WESTERN AUSTRALIA,
                                           )
                                           )
             Defendant/Counter-Plaintiffs, )
                                           )
       v.                                  )
                                           )
  NIPPON SHINYAKU CO., LTD.                )
  and NS PHARMA, INC.                      )
                                           )
             Plaintiff/Counter-Defendants. )


       STIPULATION REGARDING DAMAGES PERTAINING TO EX-US SALES

        WHEREAS Nippon Shinyaku Co., Ltd. and NS Pharma, Inc. (collectively, “NS”) and

 Sarepta Therapeutics, Inc. and the University of Western Australia (collectively, “Sarepta”)

 (together, the “Parties”) seek to streamline issues before the Court in the above-referenced action

 pertaining to damages;

        WHEREAS NS disputes Sarepta is entitled to any damages and reserves all appellate and

 post-trial rights pertaining to damages and the jury verdict entered in Phase I of the trial;

        WHEREAS Sarepta reserves its rights to move the Court for an ongoing royalty on ex-US

 sales for sales made on or after December 16, 2024, as well as applicable pre and post-judgment

 interest on the stipulated ex-US sales damages figure set forth herein through December 15, 2024;
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        WHEREAS, NS reserves the right to challenge Sarepta’s entitlement to any damages for

 the period of April 1, 2021 through May 11, 2022 except for the below stipulated damages;

        IT IS HEREBY STIPULATED, that for ex-United States sales of Viltepso through

 December 15, 2024 reasonable royalty damages would total $841,501.

 Respectfully submitted,

  MORGAN, LEWIS & BOCKIUS LLP                     MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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  Inc.                                            rsmith@morrisnichols.com
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                                                  Counsel for Defendant and Counter-Plaintiff
                                                  Sarepta Therapeutics, Inc. and the University
                                                  of Western Australia

 Dated: January 3, 2024

                 7th day of January, 2025
 SO ORDERED this ___


                                                                   ________________________
                                                                   Honorable Jennifer L. Hall
                                                                   U.S. District Court Judge
